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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          Case No. 12-CV-81361 Middlebrooks/Brannon

  DAVID DEUTSCH,

         Plaintiff,

  vs.

  COLLECTION INFORMATION BUREAU, INC.,

        Defendant.
  _____________________________________/


        PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Having amicably resolved all matters in controversy and pursuant to Federal Rule of

  Civil Procedure 41(a)(1)(i), DAVID DEUTSCH, Plaintiff herein, voluntary dismisses this action

  with prejudice as COLLECTION INFORMATION BUREAU, INC., Defendant herein, with

  each party to bear its own attorneys’ fees and costs.


  Dated: January 14, 2013                       Respectfully submitted,


                                                /s/ J. Dennis Card, Jr.
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